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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON

MALIBU MEDIA, LLC,                               )
                                                 )
        Plaintiff,                               )   Civil Action Case No. 4:19-cv-01345
                                                 )
v.                                               )
                                                 )
JOHN DOE subscriber assigned IP address          )
70.138.193.96,                                   )
                                                 )
        Defendant.                               )
                                                 )

     PLAINTIFF’S MOTION TO CONTINUE THE INITIAL PRETRIAL SCHEDULING
                 CONFERENCE SET FOR MAY 24, 2019 AT 4:45 PM

        Plaintiff, Malibu Media, LLC, moves for entry of an order extending the time within which

Plaintiff has to file a Joint Discovery Case Management Plan and continuing the initial pretrial

scheduling conference currently set for May 24, 2019 at 4:45 PM, and states:

        1.      Plaintiff filed a complaint against the Internet subscriber assigned IP address

70.138.193.96 (“Defendant”) alleging that Defendant copied and distributed one or more of

Plaintiff’s copyrighted works. See CM/ECF 1.

        2.      Since Defendant is only known to Plaintiff by Defendant’s IP address, in order to

obtain Defendant’s true identity, Plaintiff filed a Motion for Leave to Serve a Third-Party

Subpoena on the Defendant’s Internet Service Provider seeking Defendant’s identity [CM/ECF 6].

        3.      On April 23, 2019, Plaintiff was granted leave to serve a third-party subpoena on

Defendant’s ISP, AT&T Internet Services, to obtain the Defendant’s identifying information

[CM/ECF 8].

        4.      The Plaintiff issued the subpoena on or about April 25, 2019 and expects to receive

the ISP’s response on June 11, 2019.
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       5.      Upon receipt of the subscriber’s identifying information, Plaintiff will begin its

investigation to determine whether the subscriber was indeed the infringer. If so, Plaintiff will

amend its Complaint to name the Defendant.

       6.      Pursuant to the Court’s Order, an initial Conference is set for May 24, 2019 at 4:45

PM [CM/ECF 4]. The parties are due to meet, prepare, and file a proposed Joint Discovery Case

Management Plan by May 13, 2019. However, because Defendant has not been served with

process, Plaintiff has not yet served its initial disclosures or been able to discuss discovery

deadlines with Defendant. For the foregoing reasons, Plaintiff respectfully requests an

adjournment of the Initial Pretrial Conference until after Defendant has been served with the

amended complaint.

       7.      This extension will allow undersigned sufficient time to amend its complaint,

effectuate service, for Defendant to retain an attorney, and thereafter for the parties to serve its

initial disclosures and confer regarding discovery deadlines.

       8.      This motion is made in good faith and not for the purpose of undue delay.

       9.      The parties will not be prejudiced by the granting of this extension.

       WHEREFORE, Plaintiff respectfully requests an adjournment of the Initial Pretrial

Conference until after Defendant has been served with the amended complaint.

       Dated: May 13, 2019

                                                     Respectfully submitted,

                                                     By: /s/ Paul S. Beik
                                                     PAUL S. BEIK
                                                     Texas Bar No. 24054444
                                                     S.D. Tex. ID No. 642213
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                                                    F: 713-868-2262
                                                    E-mail: paul@beiklaw.com
                                                    ATTORNEY FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE
       I hereby certify that, on May 13, 2019, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record and

interested parties through this system.

                                                    By: /s/ Paul S. Beik
                                                    PAUL S. BEIK




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